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                                                                  Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
 2                   FOR THE SOUTHERN DISTRICT OF IOWA
 3                             EASTERN DIVISION
 4       BRADLEY A. ANDERSON,                  }
                                               }
 5             Plaintiff,                      }
                                               }
 6       vs.                                   } CASE NO.:
                                               ) 3:22-CV-12
 7       BNSF RAILWAY COMPANY, a               )
         Delaware corporation,                 )
 8                                             }
               Defendant.                      )
 9                                             )
                                               )
10
11
12                   THE VIDEOTAPED AND ZOOM DEPOSITION of
13       SHANTA MATTAI, M.D., called for examination
14       pursuant to the provisions of the Federal Rules
15       of Civil Procedure, as they apply to the taking
16       of depositions, taken before Kathy L. Johnson,
17       C.S.R., a Notary Public in and for the County of
18       Henry, State of Illinois, on February 9th, 2023,
19       at the hour of 10:14 a.m., at Illinois
20       Neurological Institute, 200 E. Pennsylvania
21       Avenue, Peoria, IL, 61603.
22
23
24       Job No. CS5687740

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                                                 Page 2                                                   Page 4
 1             INDEX                                       1       (Exhibits Nos. 1-4 marked for
 2                                                         2       identification)
 3   WITNESS: SHANTA MATTAI, M.D.
 4                                                         3       (Deposition start time: 10:14 a.m.)
 5   EXAMINATION BY:                    PAGE:              4       THE VIDEOGRAPHER: All right. This is
 6   MR. HEDRICK                   4                       5 the zoom video deposition of Shanta Mattai, M.D.
 7   MR. FULLER                   46                       6 Today's date is February 9th, 2023, and the time
 8   MR. HEDRICK                   56
                                                           7 is 10:14 a.m.
 9   MR. FULLER                   58
10   MR. HEDRICK                   59                      8       Doctor, you may remain seated and the
11                                                         9 court reporter will swear you in.
12            EXHIBITS                                    10       (Witness sworn)
13                                                        11             SHANTA MATTAI, M.D.,
      Exhibit No. 1           4
                                                          12 being first duly sworn on oath, was examined and
14
      Exhibit No. 2           4                           13 testified as follows:
15                                                        14               EXAMINATION BY
      Exhibit No. 3           4                           15 MR. HEDRICK:
16                                                        16     Q. Good morning, Doctor.
      Exhibit No. 4           4
                                                          17     A. Good morning.
17
      (Attached)                                          18     Q. Can you state your name for the record,
18                                                        19 please?
19                                                        20     A. Shanta Mattai.
20    SIGNATURE WAIVED BY THE WITNESS                     21     Q. Doctor, you've been asked to testify here
21
22    CERTIFICATE OF REPORTER               62
                                                          22 today because you were identified as a witness in
23                                                        23 a lawsuit filed by Mr. Bradley Anderson against
24                                                        24 BNSF Railway, and more specifically because you
                                                 Page 3                                                   Page 5
 1         APPEARANCES                                     1 and two of your colleagues here at INI provided
 2
 3     HUNEGS LeNEAVE & KVAS, P.A.                         2 treatment to Mr. Anderson. My name is Mitch
       BY: MR. THOMAS FULLER                               3 Hedrick. I represent BNSF Railway and I'll be
 4     1000 Twelve Oaks Center Drive                       4 asking you some questions today.
       Suite 101
 5     Minneapolis, MN 55391                               5     A. Okay.
       612-339-4511                                        6     Q. On the zoom link is Mr. Thomas Fuller.
 6     tfuller@hlklaw.com                                  7 He represents Mr. Anderson, and he may have some
       Appeared via Zoom on behalf
 7     of the Plaintiff;                                   8 questions for you today as well. Okay?
 8                                                         9     A. Okay.
       KNIGHT NICASTRO MACKAY, LLC                        10     Q. Have you ever testified at a deposition
 9     BY: MR. MITCHELL P. HEDRICK
       211 Fulton Street                                  11 or a trial before?
10     Peoria, IL 61602                                   12     A. Yes.
       309-296-0121                                       13     Q. And what were the circumstances of that
11     hedrick@knightnicastro.com
       Appeared via Zoom on behalf                        14 testimony or those cases?
12     of the Defendant.                                  15     A. Why do you ask?
13                                                        16     Q. Well, the reason we ask is that we need
14     ALSO PRESENT VIA ZOOM:
15     MS. ISABEL JOHNSON                                 17 to determine first, you know, whether or not that
16     MR. PAT CURTO, Videographer                        18 may be in any way similar to this case, but then
17                                                        19 also to -- because there are certain rules for
18
19                                                        20 testimony that I want to discuss with you based on
20                                                        21 your experience level with lawsuits.
21                                                        22     A. Most recent was a car accident and then
22
23                                                        23 a death in the hospital.
24                                                        24     Q. Okay. So the car accident matter, did

                                                                                                2 (Pages 2 - 5)
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                                                   Page 6                                                 Page 8
 1 that involve a traumatic brain injury?                    1    Q. If you do answer we'll presume that you
 2    A. No.                                                 2 understood the question and that what you've
 3    Q. And the death in the hospital incident,             3 provided us is your best, most honest and most
 4 did that involve a traumatic brain injury?                4 accurate answer. Is that fair?
 5    A. No.                                                 5    A. Yes.
 6    Q. Okay. Did the car accident matter                   6    Q. And if you hear objections please wait
 7 involve anything related to treatment for a closed        7 for us and then we'll tell you whether you should
 8 head injury of any kind?                                  8 answer the question or not.
 9    A. No.                                                 9    A. Okay.
10    Q. And the same question for the hospital             10    Q. Obviously there's no judge here today so
11 death matter, did that involve a closed head             11 we have to kind of -- it's not a game, but kind of
12 injury of any kind?                                      12 like pickup basketball -- we call our own fouls
13    A. No.                                                13 during depositions. So we'll tell you yes you can
14    Q. All right. So since you've testified               14 answer or please do not answer. Okay?
15 before I think you probably know the rules of the        15    A. Okay.
16 deposition or how depositions go, but just to --         16    Q. If you'd like a break let us know and
17 for a brief --                                           17 we'll take one. I don't think we're going to be
18    A. Yes, please.                                       18 here long enough to take breaks, but if you do
19    Q. -- for a brief recap, you're under oath            19 need one, as long as there's no question pending,
20 so you have to tell the truth. That's pretty             20 we can do that. Okay?
21 obvious. It's important that only one person             21    A. Okay. Sounds good.
22 speaks at a time, so I'll wait until you finish          22    Q. All right. So I've marked as Exhibit One
23 your answer before I ask any question.                   23 the Defendant's second amended notice of taking
24         And I also ask that you ask -- or that           24 deposition of Dr. Shanta Mattai issued January
                                                   Page 7                                                 Page 9
 1 you wait -- until I finish my question to provide         1 29th, 2023. And as Exhibit Number Two the
 2 your answer. Fair?                                        2 subpoena to testify at a deposition in a civil
 3     A. Yes.                                               3 action issued on January 19th, 2023 to you, Dr.
 4     Q. Okay. It's also very important that we             4 Mattai.
 5 answer questions verbally because as you can              5     A. Uh-huh.
 6 see --                                                    6     Q. That subpoena requests certain documents,
 7     A. Yes.                                               7 including your CV.
 8     Q. -- the court reporter is taking down what          8     A. Uh-huh.
 9 we say and she cannot --                                  9     Q. And you've been gracious enough to
10     A. Yes, a head nod. She cannot take down a           10 provide us with a copy of your CV. Is this the
11 head nod, yes.                                           11 most recent version of your CV?
12     Q. Exactly. So shoulder shrugs and --                12     A. Yes.
13     A. Yeah.                                             13     Q. And is there anything that you have in
14     Q. -- hand gestures are common in normal             14 the works in terms of publications, speaking
15 conversation, but at least for today let's try to        15 engagements, that are coming up but haven't been
16 make sure that we answer verbally. Okay?                 16 listed on here?
17     A. Yes.                                              17     A. No.
18     Q. If a question's unclear or you didn't             18     Q. All right. And are there any other
19 hear it because of zoom link or because of some          19 honors, awards, research or teaching experience
20 goofiness in the way that we've asked the question       20 that you have coming up that aren't on here?
21 please say so and we'll rephrase it or restate it        21     A. No.
22 in a way that's a bit more clear and so that you         22     Q. All right. So we've marked as Exhibit
23 can hear it. Okay?                                       23 Number Three your CV. Have you brought with you
24     A. Yes.                                              24 any other materials for consideration in today's

                                                                                                3 (Pages 6 - 9)
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 1 deposition?                                        1     A. No.
 2     A. Well, I've got my computer and the          2     Q. Okay. Is there anything else that you've
 3 patient's chart is up, so that's all I have.       3 done to prepare for today's deposition that I
 4     Q. Okay. So when you say the patient's         4 haven't --
 5 chart, is that the digital records that are        5     A. No.
 6 available to you as the doctor here at Illinois    6     Q. -- asked about? All right. And can you
 7 Neurological Institute?                            7 provide us with a brief overview of your
 8     A. Yes.                                        8 education, work experience and your subspecialty
 9     Q. And I will represent to you that earlier    9 or specialty in the medical field?
10 in this case we issued a subpoena to Illinois     10     A. I'm sorry, my computer just froze on me.
11 Neurological Institute for records related to the 11 It locked me out so I didn't hear that. Can you
12 treatment of Bradley Anderson. For the record, we 12 say that again, please?
13 have marked those as Mattai -- Exhibit Mattai     13     Q. Sure. Can you provide us with a brief
14 Four.                                             14 rundown of your education, work experience, and
15          And also for the record they are Bates   15 then subspecialty or specialty in the medical
16 stamped BNSF underscore Anderson 003298 through 16 field?
17 BNSF underscore Anderson 003358.                  17     A. I did my medical school at Northwestern
18          So, Doctor, I asked you this question    18 University and then I did my residency at
19 when you came in today, but is there -- to your   19 University of Wisconsin. I practiced there for a
20 knowledge -- is there anything in the digital     20 year and then I came to Peoria where I am a
21 records that you have available to you on your    21 general neurologist. We also have an appointment
22 laptop that would not be included in physical     22 with University of Illinois.
23 records that may have been provided -- or that    23     Q. Okay. And it looks like --
24 were provided to us -- in this case?              24     A. And I'm Board certified.
                                                 Page 11                                               Page 13
 1    A. There should not be.                               1     Q. Yep. That was going to be my next
 2    Q. Okay. So to the best -- just to the best           2 question. Are you Board certified in any
 3 of your --                                               3 particular specialty or subspecialty of the
 4    A. To the best of my knowledge they should            4 medical field?
 5 not be.                                                  5     A. No.
 6    Q. Okay. I understand, and I appreciate               6     Q. And you have medical -- it looks like
 7 that. Thank you. Have you reviewed any records           7 you've got medical licenses -- in Wisconsin and
 8 in preparation for today's deposition?                   8 Illinois --
 9    A. I reviewed his chart.                              9     A. In Illinois.
10    Q. Okay. And have you discussed Mr.                  10     Q. -- correct?
11 Anderson's treatment with any of your colleagues        11     A. Yes.
12 in preparation for today's deposition?                  12     Q. Any other states?
13    A. No.                                               13     A. No.
14    Q. Have you discussed Mr. Anderson's                 14     Q. Do you have credentials for any hospitals
15 treatment or anything related to your testimony         15 here in Peoria or anywhere else?
16 with Mr. Anderson?                                      16     A. Other than OSF.
17    A. No.                                               17     Q. So OSF-St. Francis?
18    Q. Have you discussed with Mr. Anderson's            18     A. St. Francis, yes.
19 counsel any treatment or your testimony in today's      19     Q. Got you. Any other OSF-affiliated
20 case?                                                   20 hospitals or is that the only one?
21    A. No.                                               21     A. I think you get certified -- you get
22    Q. Have you and I discussed anything other           22 approved for all of OSF, hospitals, clinics, if
23 than the brief introductory conversation we had         23 you get -- maybe not. I don't know.
24 before we went on the record today?                     24     Q. All right. So I think I understand what
                                                                                            4 (Pages 10 - 13)
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                                                  Page 14                                                   Page 16
 1 you're saying correctly. But just for the record          1 for me because I think I may have been mistaken.
 2 and for my own edification, OSF Medical Group has         2    A. Okay.
 3 a number of hospitals other than OSF-St. Francis,         3    Q. I think that was arranged.
 4 right?                                                    4    A. Yes.
 5     A. Yes.                                               5    Q. Did you do a Fellowship? Are you
 6     Q. And so when you say you're credentialed            6 Fellowship trained or residency trained?
 7 by OSF, to the best of your knowledge does that           7    A. No, I did not do a Fellowship, I'm a
 8 mean that you're credentialed then to work in and         8 general neurologist.
 9 treat patients in any of their -- any of OSF's            9    Q. Okay. When you did your residency was
10 hospitals?                                               10 there a particular focus in your residency on
11     A. I thought so.                                     11 neurology?
12     Q. Okay.                                             12    A. That was my residency --
13     A. I haven't had to think about it for               13    Q. Okay.
14 awhile but I -- it might not be. It may just be          14    A. -- neurology.
15 for the -- in Peoria.                                    15    Q. All right. And you've been an attending
16     Q. I see. All right. So you've worked for            16 physician in the Department of Neurology for OSF
17 OSF Medical Group since 2005 according to your CV.       17 Medical Group since 2005; is that right?
18 Is that all with OSF Medical Group? I know there         18    A. Yes. Yes.
19 was a merger between INI and OSF. How did that --        19    Q. All right. So in terms of treatment of
20 where were you before the merger?                        20 patients who report to you with potential closed
21     A. So I was employed by the OSF Hospital,            21 head injuries what generally is your process for
22 the Medical Group, before they became INI.               22 diagnosis and treatment of such patients?
23     Q. Okay. And --                                      23    A. I rarely see patients with closed head
24     A. So if they -- we were undergoing the              24 injuries.
                                                  Page 15                                                   Page 17
 1 process of becoming the INI -- probably a couple          1     Q. Okay. And so --
 2 years after I started, I think. Yeah.                     2     A. We have a concussion clinic that they
 3     Q. Got you. So when the --                            3 would go to, and as a result I rarely see them.
 4     A. So it's all the same base -- I mean, it            4     Q. Okay. So when, generally speaking, when
 5 is the same.                                              5 is it that your -- I guess when is it that you're
 6     Q. All right. So Illinois Neurological                6 pulled into that particular area of the practice
 7 Institute, INI, was acquired by OSF at some point         7 as opposed to your normal practice?
 8 I think in the late 2010's give or take. Is that          8     A. I don't have too much of a choice in what
 9 -- is that -- am I correct in saying that?                9 I see.
10     A. I've never thought that we were not part          10     Q. Understand.
11 of OSF.                                                  11     A. So like others, for instance, we used to
12     Q. Oh.                                               12 have a stroke clinic. We don't anymore. And so
13     A. That we were -- that OSF has always been          13 when the patients would need to be seen through
14 above us.                                                14 the referral system they would just get funneled
15     Q. Ah.                                               15 -- all the strokes would get funneled -- to the
16     A. But we are a -- we're just a separate             16 stroke clinic.
17 entity but still over -- over -- OSF is over us.         17     Q. I see.
18 That's been my understanding.                            18     A. So similarly, there is an Attending, or
19     Q. Okay.                                             19 there may be a couple of Attendings, who do a lot
20     A. I still get paid by the same -- it still          20 of closed head injury work as a neurologist. And
21 says OSF on it. It's never changed to INI.               21 so the concussion clinic or this other
22     Q. I understand.                                     22 neurologist, that's where most of the patients
23     A. So that's my understanding of it.                 23 go --
24     Q. I appreciate you helping to clarify that          24     Q. Okay.

                                                                                               5 (Pages 14 - 17)
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                                                 Page 18                                                 Page 20
 1     A. -- so...                                          1    A. I don't know.
 2     Q. And for the record, who is that                   2    Q. Okay. Do you know how it's determined
 3 neurologist or those neurologists that ordinarily        3 that a patient can be seen or treated by a PA as
 4 do the concussion clinic for INI?                        4 opposed to a physician?
 5     A. So Dr. Jankowska is a neurologist and she         5    A. I don't know that.
 6 does a lot of the closed head injuries.                  6    Q. Okay. So as a physician do you review
 7     Q. Okay.                                             7 and rely on medical records of physician's
 8     A. And then the concussion clinic, I think           8 assistants in your practice to diagnose or assess
 9 that those are neurosurgeons. I don't know that          9 certain patients?
10 there's necessarily a neurologist that works in         10    A. When I'm assessing them I take that into
11 that clinic. I think that's run by neurosurgery.        11 consideration.
12     Q. Okay. And Dr. Jankowska's name was               12    Q. Okay. So --
13 briefly mentioned in some of the records but it         13    A. I mean, anything that's part of the
14 appears he did not -- I'm sorry, she did not --         14 medical record related to whatever the person is
15 treat Mr. Anderson. How is it that the division         15 being seen for then I try to review that.
16 of work in INI falls to you for Mr. Anderson            16    Q. I see. So just from a -- from the
17 rather than Dr. Jankowska?                              17 standpoint of trying to figure out how it is that
18     A. So I think that there was some -- there          18 you go about doing your job -- the chart that you
19 was something a little bit out of -- out of sorts       19 have, is that -- does that include the PA's
20 with the patient's dizziness --                         20 records in addition to your own?
21     Q. Okay.                                            21    A. Yes.
22     A. -- so the concussion clinic sent the             22    Q. All right.
23 patient to see me from the neurologic perspective       23    A. And for whatever reason I'm actually not
24 of that.                                                24 able to access it anymore.
                                                 Page 19                                                 Page 21
 1     Q. Okay. Good. And so -- and we'll get               1     Q. Interesting.
 2 into the specifics of his care in just a moment.         2     A. I can use the paper but I don't even
 3 But just for the record, what is your -- I guess         3 understand why I can't --
 4 for lack of a better term -- your normal area of         4     Q. So when you say you can't access it, were
 5 practice at INI as opposed to the closed head            5 you able to access it this morning and you're just
 6 injuries or concussion?                                  6 having difficulty now?
 7     A. So I do headaches, back pain, seizures,           7     A. Yeah. So I was -- I was on it --
 8 strokes, memory problems, neuropathies, that's           8     Q. Okay.
 9 what I tend to do. Parkinson's, Alzheimer's.             9     A. -- and then it said it couldn't connect
10 Those sorts of things.                                  10 to the server, so I'm still not connected to the
11     Q. All right. And it sounds like you, at            11 server.
12 least to the best of your recollection, there was       12     Q. Okay. So it sounds like maybe just a
13 something about Mr. Anderson's presentation that        13 technical difficulty. Hopefully you can get back
14 someone at the concussion clinic thought this           14 on but we do have --
15 would be something you should -- you should look        15     A. Yes.
16 at; is that correct?                                    16     Q. -- physical records.
17     A. Yes.                                             17     A. Yes.
18     Q. Okay. There are different levels of care         18     Q. Paper records.
19 in INI's practice, correct, in terms of physician       19     A. So I might have to do that. I'm not the
20 assistants versus physicians?                           20 best computer person. I'll try again.
21     A. Uh-huh.                                          21     Q. I understand.
22     Q. How does the division of work between            22     A. Okay.
23 PA's and physicians work in the concussion clinic,      23     Q. All right. So as you sit here today do
24 or just at INI generally?                               24 you recall treating a gentleman named Bradley
                                                                                             6 (Pages 18 - 21)
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                                                Page 22                                                 Page 24
 1 Anderson?                                               1 him on that date?
 2    A. Yes.                                              2     A. Jacinda Cornick.
 3    Q. And as you sit here having, you know,             3     Q. And are you familiar with Miss Cornick?
 4 looked through a little bit of the chart and            4     A. No.
 5 having now talked a little bit about his treatment      5     Q. It looks like she is a PAC. Do you know
 6 what is it that you recall specifically about Mr.       6 what that stands for?
 7 Anderson's treatment?                                   7     A. She's a physician's assistant.
 8    A. I'm going to have to look at these --             8     Q. All right.
 9    Q. Sure.                                             9     A. I don't know what the C is for.
10    A. -- because I'm not going to be able to           10     Q. Got you. And to the best of your
11 get back on it I don't think.                          11 knowledge was Miss Cornick a physician's assistant
12    Q. So I'm handing you what's been -- or been        12 in the concussion clinic here or somewhere --
13 marked as Exhibit Mattai Four. These are the           13 anywhere else? You mentioned the concussion
14 medical records that we received via subpoena in       14 clinic before, that's why I ask.
15 this case.                                             15     A. Yeah, I believe she's --
16    A. Is someone able to come and help me?             16         THE VIDEOGRAPHER: Excuse me, Doctor.
17         MR. HEDRICK: Yeah. Thomas, can -- do           17 You're off camera right now. Could you --
18 you mind if we take a short break to see if we can     18         THE WITNESS: Yeah, sorry. So I
19 get someone in the office to help Dr. Mattai get       19 believe she is within the concussion clinic, yes.
20 her chart working on her computer?                     20 BY MR. HEDRICK:
21         MR. FULLER: Not at all.                        21     Q. Okay. And I know that you didn't see the
22         THE WITNESS: Okay, thank you.                  22 patient on that day but you mentioned earlier that
23         MR. HEDRICK: Okay. We'll go off the            23 you rely on or at least consider the observations
24 record shortly and hopefully we can get this           24 of PA's in determining -- determining care or
                                                Page 23                                                 Page 25
 1 working.                                            1 determining an assessment -- of the Plaintiff --
 2          THE VIDEOGRAPHER: We're going off the 2 of the patient's condition. What is it that Miss
 3 record at 10:32 a.m.                                3 Cornick noted in his history and present illness?
 4          (Break taken at this time)                 4     A. Do I have to -- I -- it's in here for you
 5          THE VIDEOGRAPHER: We are back on the 5 to read it.
 6 record at 10:41 a.m. Go ahead.                      6     Q. All right. So is there anything in the
 7 BY MR. HEDRICH:                                     7 -- in this particular note or in this particular
 8    Q. So, Doctor, before we went off the record     8 history -- that you would disagree with or have
 9 we briefly discussed the nature of your -- or your  9 reason to disagree with based on your reading of
10 recollections of treatment of Bradley Anderson --  10 it?
11 and his treatment at Illinois Neurological         11     A. Whether I disagree or not it's not -- I
12 Institute.                                         12 can't  -- I'm not going to answer that.
13          So I've got some more specific            13     Q. All right. What is it that Miss Cornick
14 questions about his care here for you that I'd     14 -- what assessment or diagnosis -- did Miss
15 like to ask here going forward.                    15 Cornick give Mr. Anderson on that date?
16    A. Okay.                                        16     A. I really cannot tell you what other
17    Q. When was the first time that Mr. Anderson    17 people said. Okay. Do I have to answer that?
18 was seen at INI?                                   18     Q. Well, based on -- based on your review of
19    A. Let me see here. So it was 5/2 of 2019.      19 the record --
20    Q. And what was he -- what was the reason       20     A. Because you can review the records too.
21 for his presentation on 5/2/2019?                  21 It's right here what she says. I'm not going to
22    A. The chief complaint written was neck         22 say what other people said. I'm really just going
23 pain.                                              23 to talk about what I know of. Right? I just
24    Q. Who was the provider here at INI that saw    24 don't -- I mean, that's not my -- I'm not going to
                                                                                            7 (Pages 22 - 25)
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 1 do that.                                                1 the other care and treatment of other providers.
 2     Q. I understand. I'm not trying to harass           2 BY MR. HEDRICK:
 3 you into saying anything --                             3     Q. Okay. So I guess maybe the better way to
 4     A. Because it's right here. You can read it         4 ask this, is this a -- is this a document or a
 5 for yourself what she said.                             5 record that you would ordinarily rely on in your
 6     Q. I know.                                          6 treatment of a patient that has been referred to
 7     A. I can -- I can read the chart --                 7 you from the concussion clinic?
 8     Q. I'm just asking you to confirm on the            8         MR. FULLER: Form. I just objected to
 9 record that that's -- that's what she said.             9 the form of the question again. Go ahead, Doctor.
10     A. I cannot speak to what anyone wrote, and        10         THE WITNESS: So repeat the question
11 I won't do that.                                       11 again.
12     Q. Okay.                                           12 BY MR. HEDRICK:
13     A. Because what they write is what they            13     Q. So the records from Miss Cornick, are
14 write in the medical record, which is legal. You       14 those records that you would ordinarily review and
15 know, it's a legal document as well. So whatever       15 rely on in determining the -- what care or what --
16 they put in there, that's what they think. I'm         16 what diagnosis has been provided to a patient such
17 not going to say about this. It's just like            17 as Mr. Anderson?
18 reading it back to you basically.                      18     A. I review the information. Do I rely on
19     Q. I understand. So I have some other              19 it? No.
20 follow-up questions about the other -- the other       20     Q. Okay.
21 visits -- that Mr. Anderson had with Miss Cornick.     21     A. I rely on my own information that I
22 When was the next time that Miss Cornick saw Mr.       22 gather. That's what I rely on.
23 Anderson?                                              23     Q. Okay. All right. I don't mean to say
24     A. So it looks -- so another visit was July        24 that you should or shouldn't rely on it. I'm just
                                                Page 27                                                   Page 29
 1 29th, 2019. Sorry.                                      1 asking to make sure that I understand when we get
 2    Q. All right. I'm showing that his next              2 to your actual treatment of Mr. Anderson what it
 3 visit --                                                3 is that you reviewed or relied on and what
 4    A. Oh, was it the 30th? Sorry.                       4 information is important to you when you make your
 5    Q. -- was May 16th of 2019.                          5 assessment. Okay?
 6    A. Oh.                                               6          All right. So it looks like Miss
 7    Q. Is that a date that you've got in the             7 Cornick had -- or I'm sorry -- Mr. Anderson met
 8 chart as well?                                          8 with Miss Cornick on four other occasions before
 9    A. Yes.                                              9 she -- before he was referred to you.
10    Q. Okay. And so I know that you're not              10          To the best of your knowledge do you
11 going to comment or, you know, restate what Miss       11 recall anything about those records or about that
12 Cornick has already stated in her records. Is          12 treatment that you would have reviewed or relied
13 there anything that as you sit here today you          13 upon prior to him coming to you?
14 disagree with in those records? I'm not asking         14     A. I review the records.
15 you to criticize.                                      15     Q. Okay. And it looks like there's a
16          MR. FULLER: I've got to object to the         16 treatment -- or there's a treatment date -- on
17 form of the question, counsel. The doctor's            17 September 5, 2019 with a person named Cynthia
18 already testified that she's not comfortable           18 Guede, G-u-e-d-e. Are you familiar with Mrs.
19 regurgitating records from other providers. I          19 Guede?
20 don't think you're being fair to this witness.         20     A. Yes.
21          She's here to testify about her care          21     Q. And what capacity does Mrs. Guede work at
22 and treatment. So I believe these are unfair           22 here at INI?
23 questions. She lacks foundation and has already        23     A. She is retired now.
24 explained reasons why she doesn't want to get into     24     Q. Okay. And when she -- before she

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                                                Page 30                                                   Page 32
 1 retired?                                                1     A. Things that he reported are headache,
 2     A. She was an audiologist in the vertigo            2 feeling foggy, tired, irritable, vertiginous,
 3 clinic.                                                 3 memory problems, feeling overwhelmed, problems
 4     Q. All right. The same question as to the           4 sleeping.
 5 records of Miss Cornick. Is this a record from          5     Q. Okay. Did he indicate to you that he was
 6 9/5/19 with Miss Guede that you would have              6 working or not working at that time?
 7 reviewed in preparation for your assessment and         7     A. I believe he was working at the time.
 8 treatment of Mr. Anderson?                              8     Q. Okay.
 9     A. Yes.                                             9     A. I cannot be -- I'm going by what my
10     Q. Okay. So when was the first time that           10 notes -- so if I specifically say it then it makes
11 you saw Mr. Anderson?                                  11 it easy.
12     A. So let's see here. So that was January          12     Q. Sure.
13 13th of 2020.                                          13     A. If it's not there I don't know.
14     Q. Okay. And what was his chief complaint          14     Q. Okay. So basically, if I understand you
15 to you at that time?                                   15 correctly, and I don't want to put words in your
16     A. Episodes of whooziness.                         16 mouth and I don't want to mischaracterize anything
17     Q. All right. And is there any indication          17 about your treatment here of him, if it's in the
18 in your records as to the onset of those symptoms?     18 record then that's what you believe is correct; is
19     A. So they went -- so I put down March 22nd        19 that fair?
20 of 2019.                                               20     A. Yes.
21     Q. Okay. And is this -- is that information        21     Q. Okay. Okay. So what was your assessment
22 -- that was provided to you by Mr. Anderson or by      22 then according to your records of Mr. Anderson at
23 -- or was that information that you gathered from      23 that time?
24 review of prior records or -- if you recall?           24     A. That his -- that his symptoms were
                                                Page 31                                                   Page 33
 1    A. I don't recall.                                   1 gradually getting better from his injury that he
 2    Q. Do you recall speaking with Mr. Anderson          2 had.
 3 on that date about the onset of his symptoms?           3    Q. Okay. And so what was your recommended
 4    A. Do I recall in my head the encounter I            4 course of treatment for Mr. Anderson at that time?
 5 had with him or what I wrote in the chart?              5    A. I wanted to get an MRI scan of his head.
 6    Q. Well, let's start with do you recall in           6    Q. Okay.
 7 your head anything about the encounter with him?        7    A. And he was going to take some Extra
 8    A. No.                                               8 Strength Tylenol for his headache and Naprosyn as
 9    Q. And then according to your records did            9 well. And I was glad that things seemed to be
10 Mr. Anderson provide a statement to you or make        10 getting a little bit better. And then I wanted
11 any statements to you about the onset of his           11 Dr. Jankowska to see him because she deals a lot
12 symptoms?                                              12 with traumatic brain injuries --
13    A. I expect he would have, yes.                     13    Q. Okay.
14    Q. Okay. And is that part of a subjective           14    A. -- and concussions.
15 examination or interview or clinical interview         15    Q. And at that time did you make a referral
16 with the patient that you would do as a normal         16 for Mr. Anderson to see Dr. Jankowska?
17 part of your practice?                                 17    A. I did.
18    A. It is.                                           18    Q. To your knowledge did Mr. Anderson then
19    Q. According to your records what is it that        19 see Dr. Jankowska afterwards?
20 Mr. Anderson reported to you?                          20    A. To my knowledge he did not.
21    A. Reported to me about what?                       21    Q. Okay. Do you have any reason -- or do
22    Q. About the onset of his symptoms. The --          22 you have any recollection -- as to why he didn't
23 any prior treatment. Any issues that he's have --      23 go see Dr. Jankowska --
24 that he's having at that time.                         24    A. No.

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                                                Page 34                                                   Page 36
 1     Q. -- one way or the other?                         1 with them.
 2     A. No.                                              2     Q. With OSF-St. Mary's?
 3     Q. When is the next time that you saw Mr.           3     A. Yeah.
 4 Anderson?                                               4     Q. Okay.
 5     A. So I had a televideo visit on April 21st         5     A. Again.
 6 of 2020.                                                6     Q. All right. So after 4/21 of 2020 did you
 7     Q. And is this a follow-up to your prior            7 see Mr. Anderson again?
 8 visit in January 2020, or was this something            8     A. No.
 9 different or new?                                       9     Q. Okay. It looks like there are some
10     A. No, this was a follow-up from his               10 records of care by Miss Cornick and Miss Guede
11 previous.                                              11 that follow your April 21st, 2020 telehealth visit
12     Q. Okay. And according to your records what        12 with Mr. Anderson. Do you recall -- have you
13 is it that he reported to you and what sort of         13 reviewed those records -- or is that something
14 recommendations did you make for his -- for his        14 that you would review in the normal course of your
15 care -- at that time?                                  15 care of a patient like Mr. Anderson?
16     A. His headaches and his memory seemed to          16     A. So not necessarily. If I haven't -- if I
17 have improved. He was continuing to have his           17 -- if my last visit was in April then those
18 vertigo and I wanted to have him go back to            18 records wouldn't come to me.
19 physical therapy, and then he could come back to       19     Q. Okay. So do you discharge him from your
20 see me if he wasn't going to see Dr. Jankowska.        20 care and send him to someone else or is this just
21     Q. Okay. At the time of his telehealth             21 a situation where he continued to see the PA's --
22 visit in April of 2020 did he indicate to you why      22     A. He went back to see them, yes.
23 he did or did not want to see Dr. Jankowska?           23     Q. -- and you were not involved?
24     A. No.                                             24     A. So he went back to see the PA, and I
                                                Page 35                                                   Page 37
 1     Q. Okay. Based on your recommendations do           1 think she wanted him to see Dr. Jankowska as well.
 2 you know whether or not he had physical therapy to      2    Q. Okay.
 3 address the symptoms that he was -- that he was         3    A. But then I didn't -- there wasn't
 4 having?                                                 4 anything alarming to me so -- to address the
 5     A. I believe so.                                    5 reason why he was sent to me in the first place,
 6     Q. And was that with INI or was that with a         6 so then he could go back again to see his PA.
 7 different provider, if you know?                        7    A. Okay.
 8     A. Well, I referred him to physical therapy         8    Q. I don't know -- I mean, I ordered an MRI
 9 at St. Mary's Hospital in Galesburg.                    9 scan. I don't know that they -- they don't
10     Q. Okay. And do you have access to records         10 normally order those -- so it may have been that
11 of his physical therapy or is that something that      11 they were concerned about perhaps something
12 that entity would have?                                12 different or worse damage that could have been
13     A. They would have that.                           13 done, and so then I ordered the MRI scan.
14     Q. Okay.                                           14    Q. You mentioned that you didn't see
15     A. And that we should have that someplace.         15 anything alarming. Can you explain what you mean
16     Q. Like a sharing of records between the           16 when you say you didn't see anything alarming?
17 different divisions of OSF that is available to        17    A. I thought that his -- his -- his course
18 you or?                                                18 was in the realm of what one might expect for
19     A. They try to.                                    19 someone who has the injury that he has.
20     Q. Okay.                                           20    Q. And so for --
21     A. And here, so he was seen -- let's see.          21    A. He didn't have a stroke. I mean, I did
22 So they gave some recommendations and exercises        22 the MRI scan, so he didn't have anything major
23 for him to do. And let's see here. Let me see.         23 that we would be concerned about otherwise.
24 And they wanted to have him, you know, follow up       24    Q. Okay. And so for people who are not as

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 1 familiar with neurological symptoms as you are,         1 it comes back again then he should, you know, he
 2 when you say the normal course for injuries of          2 can call at that time.
 3 that nature what is it that you mean?                   3     Q. Okay. So at least according to Miss
 4     A. So over time with treatment that things          4 Guede it says that he was -- he's no longer
 5 get better.                                             5 experiencing spinning, that he was previously
 6     Q. And based on your review and assessment          6 getting really nauseated but that part is gone.
 7 of Mr. Anderson is that your opinion then that he       7 Still feels off on occasion but he has days where
 8 was getting better?                                     8 he feels completely normal.
 9         MR. FULLER: Foundation.                         9          And then he goes through his --
10         THE WITNESS: Things were improving             10 basically all of the symptoms that he's
11 for him.                                               11 experiencing -- or lack thereof in some cases.
12 BY MR. HEDRICK:                                        12          And so based on that information is it
13     Q. Okay. All right. So after you saw Mr.           13 correct then that doctor -- or Miss Guede --
14 Anderson in April of 2020 do you know if he went       14 relied on that information to then say okay, you
15 to see Dr. Jankowska?                                  15 don't need to come in anymore, let us know, or
16     A. No, he did not.                                 16 call us if something comes back up? Is that
17     Q. Okay. And it appears that he was                17 accurate?
18 discharged from INI as a patient on July 16th of       18          MR. FULLER: Form.
19 2020 by Dr. -- by Cynthia Guede?                       19          THE WITNESS: At that particular
20     A. Okay.                                           20 time --
21     Q. I'm not asking you to comment one way or        21          MR. FULLER: Form. I objected to the
22 the other, but is that -- to your knowledge -- is      22 form. But go ahead, Doctor.
23 that the last time that he was seen here at INI?       23          THE WITNESS: At the time symptoms
24     A. What date was that again? Sorry.                24 seemed to be better, so if they got worse again
                                                Page 39                                                   Page 41
 1     Q. July 16th, 2020.                                 1 then, which they could, then he would call the
 2     A. Well, July 16th was the last telemedicine        2 clinic. Because, you know, he has to come all the
 3 appointment.                                            3 way to Peoria --
 4     Q. Okay.                                            4 BY MR. HEDRICK:
 5     A. So I would say -- and then 7/16/20 there         5     Q. Right.
 6 was a telephone call. But I don't think -- let me       6     A. -- you know.
 7 just get this note up again here from Cynthia.          7     Q. Yep. Yep. Because he lives out in the
 8     Q. Okay.                                            8 Galesburg area.
 9     A. Let's see here. Okay. Let me just see.           9     A. He just can't keep coming back constantly
10 I see. So she didn't discharge him from the            10 because he lives in Gales -- you know, he lives
11 clinic.                                                11 outside of Peoria.
12     Q. Okay.                                           12     Q. Okay. And after that time to your
13     A. That's a completely different thing. She        13 knowledge or based on the records that are in the
14 said if it comes back again then they need to --       14 chart has Mr. Anderson returned to INI complaining
15 that he needs to follow up.                            15 of any of the symptoms that he previously --
16     Q. All right. So if I'm reading this               16 previously had?
17 correctly then, Cynthia Guede provides an              17     A. It doesn't seem like he has made any
18 assessment based on her review and discussions         18 calls. We don't have record of any calls after
19 with Mr. Anderson as to the -- as to the symptoms      19 7/16/20.
20 he's continuing to experience, if any.                 20     Q. Okay. All right. And as to the nature
21          And then her recommendation is to --          21 of Mr. Anderson's injury do you know what his job
22 is to return if needed -- basically. Is that           22 duties were at the railroad?
23 true?                                                  23     A. No.
24     A. Right. If he gets -- if it comes -- if          24     Q. Do you know what his job duties were on

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                                                Page 42                                                  Page 44
 1 the date that he alleges that he sustained an       1     A. I mean, in his job?
 2 injury?                                             2     Q. Right.
 3    A. I can look back at my notes and see if I      3     A. No.
 4 put it in there, but if it's not in there then I    4     Q. So is it accurate to say that you don't
 5 don't know.                                         5 have personal knowledge of the incident and how
 6    Q. Okay. So let's just -- I guess I have         6 that incident took place?
 7 written down that he was a driver. I'm not quite    7     A. I don't even know what that sentence --
 8 sure. Conductor on a train. That's all I have.      8 what that question is.
 9    Q. Okay. And so at least to the best of          9     Q. All right. So do you have personal
10 your knowledge and based on your review of your    10 knowledge based on something that you observed,
11 records from treatment of Mr. Anderson do you know 11 saw, heard or experienced, that gives you a basis
12 what job tasks or duties he was performing at the  12 to say this is what happened to him?
13 time that he says that he was injured?             13     A. No.
14    A. No, other than what I previously said.       14     Q. Okay. And so you're then relying on Mr.
15    Q. All right. And so because of that,           15 Anderson's statements to you about how this
16 because you don't know what he was doing at the    16 incident happened or what happened to him to form
17 time of his injury or what his job entailed do you 17 an opinion based on -- based on his statements --
18 have any opinions as to whether or not the         18 of whether or not this incident caused his
19 incident that he complains of caused his           19 condition that you treated?
20 condition?                                         20     A. There was nothing out of the ordinary to
21          MR. FULLER: Form.                         21 make me believe otherwise. To believe -- we hear
22 BY MR. HEDRICK:                                    22 what our patients have to say -- and we put it --
23    Q. The condition for which you saw him?         23 you know, we write it down. And I don't -- had no
24    A. Yes.                                         24 reason to believe otherwise.
                                                Page 43                                                  Page 45
 1      Q. All right. And -- all right. So if you          1     Q. Okay. So --
 2 don't under -- or if you don't know what his job        2     A. And it didn't make a difference to me.
 3 duties were and how it is that he says that he --       3     Q. So regardless of whether or not you had
 4 says he was injured -- what basis then do you have      4 reason to believe otherwise, the basis for your
 5 to say one way or the other that the incident           5 understanding -- or the basis of your
 6 caused his condition that you -- that you               6 understanding of what happened to Mr. Anderson --
 7 observed?                                               7 is based on what he's represented to you and to
 8      A. Because he fell again, I know that.             8 other people in your practice; is that right?
 9      Q. Okay. And --                                    9     A. And it was enough to cause him physical
10      A. I don't need to -- I mean, I might have        10 issues for him, yes.
11 known at the time too and I didn't write it in my      11     Q. Okay. Have you seen any sort of
12 notes, which is probably what happened.                12 biomechanical analysis that gives you -- gives you
13      Q. Okay.                                          13 a measurement -- of the amount of force that Mr.
14      A. Because I don't write everything -- you        14 Anderson was hit with?
15 can't write everything in the note. But yeah,          15     A. No.
16 it's fine. He fell, he had this injury, he went        16     Q. And has there been any description to you
17 to the emergency room, he required stitches. So I      17 of what it was that he -- that he hit his head on?
18 think it's pretty clear.                               18     A. A metal post.
19      Q. All right. And I think I know the answer       19     Q. Okay. And is there any description to
20 to this but I have to ask it for the record. Were      20 you of how fast he was or wasn't going at the time
21 you present with him at the time that he says that     21 that his head hit the post?
22 he was injured?                                        22     A. It may have -- he may have told me and I
23      A. No.                                            23 didn't write it down.
24      Q. All right.                                     24     Q. Okay. And so as you sit here today

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 1 that's -- the answer to that question then is no,        1    Q. That's the type of jolt or blow to the
 2 is that right?                                           2 head that can cause a concussion or mild traumatic
 3     A. I just said what I said.                          3 brain injury, correct?
 4     Q. Okay. All right.                                  4    A. Yes.
 5          MR. HEDRICK: Okay. I think those are            5         MR. HEDRICK: Objection to the form of
 6 all the questions that I have for you. If Mr.            6 the question. Calls for speculation, incomplete
 7 Fuller has some follow-up questions I'll open the        7 hypothetical. You can answer if you know. Go
 8 floor to him.                                            8 ahead.
 9          MR. FULLER: Thank you.                          9         THE WITNESS: I said yes.
10                EXAMINATION BY                           10 BY MR. FULLER:
11 MR. FULLER:                                             11    Q. And so when you had the opportunity to
12     Q. Can you hear me okay, Doctor?                    12 treat Mr. Anderson, as I understand, he reported
13     A. Yes.                                             13 to you that he was feeling foggy, correct?
14     Q. Again, my name's Thomas Fuller and I             14    A. Yes.
15 represent Mr. Anderson, your patient back on the        15    Q. He was having some severe vertigo
16 various dates we talked about. I just have some         16 episodes when he would stand and get up?
17 follow-up questions for you.                            17    A. Uh-huh. Yes.
18          And I may share my screen with you so          18    Q. Could you describe to the jury what
19 then I can understand that we're working on the         19 vertigo is for people who don't really understand
20 same page. Okay?                                        20 that terminology?
21     A. Uh-huh.                                          21    A. Vertigo is specific to the vestibular
22     Q. As I understand it, the first time that          22 centers and the hearing centers, so it is a
23 you actually treated Mr. Anderson in your field of      23 symptom that people complain of specifically of
24 specialty was on January 13th, 2020. Do I have          24 spinning, a quality of spinning, when they --
                                                 Page 47                                                    Page 49
 1 that correct?                                            1 well, it just depends. But sometimes people, if
 2     A. So yes. So January 13th of 2020.                  2 they move their heads in different directions or
 3     Q. Okay. And then on that date Mr. Anderson          3 if they move their head too quickly, then they can
 4 reported to you that he was hit in the head by a         4 result in a spinning type of sensation. And then
 5 metal post while he was operating as a conductor         5 that -- you can also get nausea with that, et
 6 for the BNSF Railroad; am I right?                       6 cetera.
 7     A. Yeah.                                             7     Q. Do those types of symptoms and feelings
 8     Q. And as a result of that, I think you              8 in a patient affect one's balance?
 9 testified to this earlier, your notes do reflect         9     A. Yes.
10 that he was taken to the emergency room and had to      10     Q. If someone is having those types of
11 have eight stitches in his head to at least stop        11 balance issues and let's say they're in a
12 the bleeding that he suffered from; is that right?      12 safety-sensitive job where they're required to
13     A. Yes.                                             13 ride on the side of a rail car while it's moving,
14     Q. Am I also right, Doctor, that that type          14 you think those are types of activities that the
15 of force or blow to the head while you're riding        15 person should be limited from or prevented from
16 on the side of a rail car is the type of force or       16 doing in their job?
17 blow to the head that can cause a jolt to the           17          MR. HEDRICK: Objection. Calls for
18 brain --                                                18 speculation, calls for expert disclosure, or
19     A. Yes.                                             19 expert testimony, for which this witness is not
20          MR. HEDRICK: Objection. Sorry. Go              20 qualified, and also incomplete hypothetical. You
21 ahead, Thomas. I don't want to object in the            21 can answer.
22 middle of your question.                                22          THE WITNESS: Now I forgot the
23          MR. FULLER: Thank you.                         23 question. Please can you repeat the question?
24 BY MR. FULLER:                                          24 BY MR. FULLER:

                                                                                              13 (Pages 46 - 49)
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 1     Q. Yeah. If a patient like Mr. Anderson is          1           MR. HEDRICK: Objection. Calls for
 2 suffering from vertigo, dizziness and has balance       2 speculation. Incomplete hypothetical.
 3 issues would you agree that avoiding job tasks          3           THE WITNESS: It's possible.
 4 such as climbing ladders or riding on the side of       4           MR. HEDRICK: I'm sorry, go ahead.
 5 rail cars should be something that should be            5           THE WITNESS: It's possible.
 6 avoided for the interest of their safety?               6 BY MR. FULLER:
 7          MR. HEDRICK: Same objection.                   7     Q. And then I think I just wanted to review
 8          THE WITNESS: Yes.                              8 the next -- the next visit you had with Dr.
 9 BY MR. FULLER:                                          9 Anderson goes to April 21st, 2020 -- am I right?
10     Q. Your record of January 13th, 2020 also          10     A. Yes.
11 indicates that Mr. Anderson was having chronic         11     Q. And in your recommendations it looks
12 daily headaches, feeling foggy, tired, irritable,      12 like, at paragraph four, at that time you were
13 and also short-term memory problems. Also having       13 indicating that Mr. Anderson should avoid
14 difficulty sleeping.                                   14 activities that trigger worsening of his symptoms?
15          Are those all indications and signs of        15     A. Yes.
16 a mild traumatic brain injury, Doctor?                 16     Q. Do you see that?
17     A. Those can be, yes.                              17     A. Yes.
18     Q. And how about sensitivity to light, is          18     Q. In other words, what I -- what I mean --
19 that another indication of a mild traumatic brain      19 if let's say he is required to bend and stoop at
20 injury?                                                20 work or climb ladders and that his symptoms are
21     A. Yes, that can be it too.                        21 triggered by that, that it was your recommendation
22     Q. And so ultimately if we're talking about        22 that he avoid those types of activities?
23 mild traumatic brain injury and concussion and         23     A. Yes.
24 postconcussive symptoms, could you just describe       24           MR. HEDRICK: Object to form,
                                                Page 51                                                   Page 53
 1 how those interlay with each other?                     1 incomplete hypothetical, calls for speculation.
 2    A. We call something post concussion if it's         2 Go ahead.
 3 been between 30 days and three months of having         3          THE WITNESS: Yes.
 4 these chronic symptoms.                                 4 BY MR. FULLER:
 5    Q. Is a concussion another word for mild             5     Q. The last thing I'd like to -- and maybe
 6 traumatic brain injury?                                 6 I'd like to address with you, Doctor -- is that
 7    A. Yes.                                              7 there's some talks about the July 16th, 2020 visit
 8    Q. And am I correct, Doctor, that while some         8 that Mr. Anderson had at -- at the clinic.
 9 patients have these symptoms resolve on their own       9     A. I'm sorry, what was that? July 16th,
10 within maybe even, you know, a couple weeks to a       10 2020?
11 couple months, that some do experience prolonged       11     Q. Yeah.
12 symptoms?                                              12     A. Yep.
13    A. Yes.                                             13     Q. And do you see in that note -- and I'll
14    Q. And you weren't Mr. -- I think this came         14 give you a chance to get there. And I think this
15 out in your questions to defense counsel -- but        15 is from -- and I'm going to not say this name
16 you weren't Mr. Anderson's only treating provider;     16 correctly, but --
17 am I right about that?                                 17     A. Jacinda, uh-huh.
18    A. Right, I was not.                                18     Q. Yeah, Cynthia. Is it --
19    Q. Okay. And so at least the complaints             19     A. Oh, that one?
20 that he was having and experiencing and reporting      20     Q. Yeah.
21 to you as of January 2020, are those the types of      21     A. So 6/16/20 which is the -- I'm sorry.
22 complaints and issues that you might expect if         22 Which is the date? What's the date?
23 someone were to hit their head on a metal post         23     Q. It's July 16th, 2020.
24 while riding the side of a rail car?                   24     A. So there's a visit from Jacinda. There
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 1 isn't anything from Cynthia.                      1 from where he lives so far away and keep coming
 2         MR. FULLER: Maybe, Madam Court            2 down to your area on a regular basis to continue
 3 Reporter, could you allow me to share my screen?  3 to follow up. And so it would be reasonable for
 4 Right now I'm disabled. Maybe we can go off the   4 him to have treated with other providers maybe
 5 record for just one second.                       5 closer to his home?
 6         THE VIDEOGRAPHER: Okay. We're going 6           A. Right. Yes.
 7 off the record at 11:22 a.m.                      7          MR. FULLER: Okay. Thank you, Doctor.
 8         (pause)                                   8 Those   are all the questions I have for you. I
 9         THE VIDEOGRAPHER: Back on the record 9 appreciate your time.
10 at 11:23 a.m.                                    10          THE WITNESS: Thank you.
11 BY MR. FULLER:                                   11          MR. HEDRICK: I do have a couple of
12     Q. Okay, Doctor, I'm going to share my       12 follow-ups.
13 screen with you here.                            13              FURTHER EXAMINATION
14     A. Uh-huh.                                   14 BY MR. HEDRICK:
15     Q. All right. Are you seeing my screen,      15     Q. On the 7/16/20 note from Cynthia Guede,
16 Doctor?                                          16 his chief complaint is dizziness, as you mentioned
17     A. 7/16.                                     17 earlier. But what's the assessment that she
18     Q. Yes. I have a -- I'm sorry if I said      18 provides us to that symptom on that date?
19 that wrong. I was looking at the July 16, 2020.  19     A. I mean, it is right here. Do you want to
20 And if you can --                                20 say it and then I can say that's fine? I'm not
21     A. Yes, I have that one there, yes. Uh-huh.  21 going to read that.
22     Q. Okay. And in that record Mr. Anderson's   22     Q. Sure. At least in the note Miss Guede
23 chief complaint was still dizziness, correct?    23 indicates that as to the symptom of dizziness
24     A. Yes.                                      24 there's episodic with history of right posterior
                                                 Page 55                                                  Page 57
 1     Q. And at that time the providers noted that         1 BPPB is not resolved. Did I read that correctly?
 2 they discussed with Mr. Anderson if he's at work         2    A. Yes.
 3 and his symptoms returned to put his head in a           3          MR. FULLER: Form. It's the wrong
 4 neutral plain to minimize those symptoms. Did I          4 date. But go ahead.
 5 read that correctly?                                     5 BY MR. HEDRICK:
 6     A. Yes.                                              6    Q. And that's on 7/16 of '20, correct?
 7     Q. But then they were also recommending that         7    A. Yes.
 8 Mr. Anderson be provided with a harness when             8    Q. All right. All right. And you mentioned
 9 climbing on the train ladders. Did I read that           9 that when it comes to postconcussive symptoms that
10 correctly?                                              10 typically the range of time for postconcussive
11     A. Yes.                                             11 symptoms is between 30 days to three months after
12     Q. Are you aware if anyone at the BNSF              12 the -- after an incident of trauma -- is that
13 allowed him to return to work with a harness?           13 right?
14     A. I have no idea.                                  14    A. It just gets classified if it's longer.
15     Q. Okay. And then one of the other                  15    Q. Okay. And what's the classification for
16 restrictions noted in the records from the              16 someone who continues to experience prolonged
17 providers say avoid prolonged head positions,           17 symptoms after that time period, or that window of
18 avoid ladders or scaffolding unless can be              18 time?
19 harnessed, correct?                                     19    A. I mean, it's chronic postconcussive
20     A. Well, that's what it says.                       20 syndrome.
21     Q. Okay. And Mr. Anderson's -- to the               21    Q. Okay. And was Mr. Anderson assessed with
22 extent he had ongoing complaints and treatment          22 chronic postconcussive syndrome by anyone at INI?
23 with other providers -- I think you indicated this      23    A. I guess it's -- I don't know if someone's
24 earlier, you know, someone can't just keep driving      24 written it down. It's knowledge.

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 1     Q. Okay.                                             1 between postconcussive syndrome and chronic post
 2     A. You assume that that's -- that's what it          2 concussive syndrome?
 3 is --                                                    3    A. No, not really.
 4     Q. Okay.                                             4    Q. Okay. So postconcussive syndrome can
 5     A. -- or what they're referring to.                  5 refer to symptoms that are experienced within the
 6     Q. All right. So if it's not listed as an            6 30 day to three month window but it could refer to
 7 assessment it's an assumption that yes, this is          7 symptoms experienced beyond that window; is that
 8 what's going on with this patient?                       8 correct?
 9     A. Yes.                                              9    A. So it doesn't specify -- it doesn't
10     Q. But it's not in the records then?                10 specify it like that. It's everything after that
11     A. I don't know if it's -- if they have             11 point.
12 written it in their records.                            12    Q. Okay.
13         MR. HEDRICK: Okay. All right. I                 13    A. It's that you wouldn't call someone post
14 think those are all the questions that I've got         14 concussive if they come in two weeks after they've
15 for you. Thomas, any follow-up?                         15 had concussion. That doesn't apply then. But
16         MR. FULLER: Just briefly, Doctor.               16 everything after a point, then it continues on
17            FURTHER EXAMINATION BY                       17 with that.
18 MR. FULLER:                                             18    Q. Okay. So in the --
19     Q. I'm sharing my screen with you again,            19         MR. HEDRICK: Actually no further
20 which is going back to the visit date of July 16,       20 questions.
21 2020. And do you see in these records that              21         THE WITNESS: Okay.
22 indicate Mr. Anderson was indeed suffering from         22         MR. FULLER: I don't have anything
23 postconcussive syndrome?                                23 further. Thank you, Doctor.
24     A. Right. So they -- so they've --                  24         THE WITNESS: Thank you so much.
                                                 Page 59                                                   Page 61
 1 someone's written it down then. Okay.                    1 Thank you.
 2    Q. And so if I'm understanding that                   2         THE VIDEOGRAPHER: We're going off the
 3 correctly, postconcussive syndrome is a type of          3 record.
 4 diagnosis that may happen when a person like Mr.         4         MR. HEDRICK: Wait, wait, wait.
 5 Anderson continues to suffer from these types of         5         THE VIDEOGRAPHER: Go ahead. Go
 6 ailments?                                                6 ahead.
 7    A. Right.                                             7         MR. HEDRICK: Doctor, you have the
 8    Q. And they go unresolved and they can be             8 option of doing two things with the transcript
 9 very difficult, especially in the field of               9 here. Either you can waive --
10 neurology, to treat. And they're also hard to           10         THE WITNESS: Yes, I'm going to waive
11 live with, aren't they?                                 11 it.
12         MR. HEDRICK: Objection. Compound,               12         MR. HEDRICK: Okay.
13 complex question. You can answer.                       13         THE WITNESS: I'll waive it.
14         THE WITNESS: Yes.                               14         MR. HEDRICK: Show signature waived,
15         MR. FULLER: Okay. And I appreciate              15 and that concludes the deposition.
16 your time. Thank you, Doctor.                           16         THE WITNESS: All right.
17         THE WITNESS: Okay.                              17         MR. HEDRICK: Thank you, Doctor.
18            FURTHER EXAMINATION BY                       18         THE WITNESS: All right. Thank you.
19 MR. HEDRICK:                                            19         THE VIDEOGRAPHER: All right. We're
20    Q. And, Doctor, is there -- is there a               20 going off the record at 11:30 a.m.
21 meaningful distinction to be made -- between            21
22 chronic postconcussive versus postconcussive            22         FURTHER DEPONENT SAYETH NOT
23 symptoms? Strike that. Is there a -- is there a         23             SIGNATURE WAIVED
24 meaningful difference in the neurology field --         24       (Deposition end time: 11:30 a.m.)

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 1           CERTIFICATE OF REPORTER
 2
 3        I, Kathy L. Johnson, a Certified Court
 4   Reporter, within and for the State of Illinois,
 5   DO HEREBY CERTIFY that the witness whose
 6   testimony appears in the foregoing deposition was
 7   duly sworn by me to testify to the truth and
 8   nothing but the truth; that the testimony of said
 9   witness was taken by stenographic means by me to
10   the best of my ability and thereafter reduced to
11   print under my direction.
12        I further certify that I am neither
13   attorney nor counsel for, nor related, nor
14   employed by any of the parties to the action in
15   which this deposition was taken; further, that I
16   am not a relative or employee of any attorney or
17   counsel employed by the parties hereto, or
18   financially interested in this action.
19
20          <%1689,Signature%>
            Kathy Johnson
21          Lic. No.: 084-03071
22
23
24




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                  Federal Rules of Civil Procedure

                                  Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




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      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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